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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


UNITED STATES SECURITIES AND EXCHANGE                                   17-cv-4179-DLC
COMMISSION,
                           Plaintiff,
                                                                    NOTICE OF MOTION
       - against -

ALPINE SECURITIES CORPORATION,                                            ECF CASE

                                      Defendant.

       Please take notice that, pursuant to Fed. R. Civ. P. 12(f), Plaintiff United States Securities

and Exchange Commission (the “Commission”) moves this Court to strike Defendant Alpine

Securities Corporation’s (“Alpine”) “Sixteenth Defense” and “Nineteenth Defense” asserted in

Alpine’s Amended Answer (Doc. No. 48). The Commission has submitted a Memorandum of

Law in support of its motion to strike.

       Respectfully submitted this 13th day of November, 2017.

                                              /s/ Terry R. Miller
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        Case 1:17-cv-04179-DLC Document 54 Filed 11/13/17 Page 2 of 2




                             CERTIFICATE OF SERVICE

      I certify that on November 13, 2017, a copy of the foregoing document was served via

ECF upon the following:

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